  Case 19-34886-KRH                          Doc 7 Filed 09/22/19 Entered 09/23/19 00:24:37                                          Desc Imaged
                                                  Certificate of Notice Page 1 of 5
Information to identify the case:
Debtor 1                 Tamesha Latrice Fleming−Kennedy                                         Social Security number or ITIN    xxx−xx−8895

                         First Name   Middle Name    Last Name                                   EIN    _ _−_ _ _ _ _ _ _
Debtor 2                                                                                         Social Security number or ITIN _ _ _ _
(Spouse, if filing)      First Name   Middle Name    Last Name
                                                                                                 EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court        Eastern District of Virginia
                                                                                                 Date case filed for chapter 13 9/19/19
Case number:          19−34886−KRH

Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                                    12/17


For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read all pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See line 13 below for more
information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                               About Debtor 1:                                              About Debtor 2:
1. Debtor's full name                          Tamesha Latrice Fleming−Kennedy

2. All other names used in the
   last 8 years
                                               aka Tamesha Latrice Fleming

                                               122 E. 9th Street
3. Address                                     Richmond, VA 23224
                                               Robert B. Duke Jr.                                           Contact phone 804−308−0051
                                               America Law Group Inc.                                       Email: rdukelaw@gmail.com
4. Debtor's  attorney
   Name and address
                                               dba The Debt Law Group
                                               8501 Mayland Drive, Suite 106
                                               Henrico, VA 23294

5. Bankruptcy trustee                          Carl M. Bates                                                Contact phone (804) 237−6800
      Name and address                         P. O. Box 1819
                                               Richmond, VA 23218                                           Email: station01@richchap13.com




                                                                                                                              For more information, see page 2 >
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                                                  Certificate of Notice Page 2 of 5
Debtor Tamesha Latrice Fleming−Kennedy                                                                                                Case number 19−34886−KRH

6. Bankruptcy clerk's office                                                                                       For the Court:

    Documents in this case may be              701 East Broad Street                                               Clerk of the Bankruptcy Court:
    filed at this address. You may             Richmond, VA 23219                                                  William C. Redden
    inspect all records filed in this
    case at this office or online at           Hours open Monday − Friday, 9:00 AM − 4:00 PM                       Date: September 20, 2019
    www.pacer.gov.                             ET, except on holidays.

   McVCIS 24−hour case                         Contact phone 804−916−2400
   information:
   Toll Free 1−866−222−8029
7. Meeting of creditors                      November 7, 2019 at 10:00 AM                                       Location:
    Debtors must attend the meeting to                                                                          Office of the U.S. Trustee, 701 East Broad
    be questioned under oath. In a joint                                                                        Street − Suite 4300, Richmond, VA 23219−1885
                                             The meeting may be continued or adjourned to a later
    case, both spouses must attend.          date. If so, the date will be on the court docket.
    Creditors may attend, but are not
    required to do so.
8. Deadlines                                  Deadline to file a complaint to challenge                                Filing deadline: January 6, 2020
    The bankruptcy clerk's office must        dischargeability of certain debts:
    receive these documents and any
    required filing fee by the following
    deadlines.                                You must file:
                                              • a motion if you assert that the debtors are
                                                 not entitled to receive a discharge under
                                                 U.S.C. § 1328(f) or
                                              • a complaint if you want to have a particular
                                                 debt excepted from discharge under
                                                 11 U.S.C. § 523(a)(2)or (4).
                                              Deadline for all creditors to file a proof of claim                      Filing deadline: November 29, 2019
                                              (except governmental units):
                                              Deadline for governmental units to file a proof of                       Filing deadline: March 17, 2020
                                              claim:


                                              Deadlines for filing proof of claim:
                                               A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
                                              www.uscourts.gov or any bankruptcy clerk's office.
                                              If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be paid, you must file
                                              a proof of claim even if your claim is listed in the schedules that the debtor filed.
                                              Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                              claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain.
                                              For example, a secured creditor who files a proof of claim may surrender important nonmonetary rights,
                                              including the right to a jury trial.


                                              Deadline to file an Objection to a Proof of Claim is 90 days after the deadline set forth
                                              above to file a Proof of Claim.


                                              Deadline to object to exemptions:                                         Filing deadline:    30 days after the
                                              The law permits debtors to keep certain property as                                           conclusion of the
                                              exempt. If you believe that the law does not authorize                                        meeting of creditors
                                              an exemption claimed, you may file an objection.




                                                                                                                                     For more information, see page 3 >
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Debtor Tamesha Latrice Fleming−Kennedy                                                                                              Case number 19−34886−KRH

9. Filing of Chapter 13 Plan                  Local Rule 3015−2 requires attorney for debtor(s) or pro se debtor(s) to serve the Chapter 13 Plan and Related
   and Related Motions and                    Motions on creditors and interested parties. Objections must be filed not later than 7 days prior to the date set
                                              for the confirmation hearing. If no objections are timely filed, there will be no confirmation hearing. Timely
   Hearing on Confirmation                    filed objections will be heard at the confirmation hearing scheduled to be held:

                                              December 4, 2019 at 11:10 AM,

                                              Location: Judge Huennekens − Courtroom, U. S. Bankruptcy Court, 701 E. Broad St., Rm. 5000,
                                              Richmond, VA 23219
10. Creditors with a foreign                  If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                                   extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                              any questions about your rights in this case.
11. Filing a chapter 13                       Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    bankruptcy case                           according to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the
                                              plan and appear at the confirmation hearing. A copy the plan, if not enclosed, will be sent to you later, and if the
                                              confirmation hearing is not indicated on this notice, you will be sent notice of the confirmation hearing. The
                                              debtor will remain in possession of the property and may continue to operate the business, if any, unless the
                                              court orders otherwise.
12. Exempt property                           The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                              distributed to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as
                                              exempt. You may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you believe that
                                              the law does not authorize an exemption that debtors claimed, you may file an objection by the deadline.
13. Discharge of debts                        Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt.
                                              However, unless the court orders otherwise, the debts will not be discharged until all payments under the plan
                                              are made. A discharge means that creditors may never try to collect the debt from the debtors personally except
                                              as provided in the plan. If you want to have a particular debt excepted from discharge under 11 U.S.C. §
                                              523(a)(2) or (4), you must file a complaint and pay the filing fee in the bankruptcy clerk's office by the deadline.
                                              If you believe that the debtors are not entitled to a discharge of any of their debts under 11 U.S.C. § 1328(f), you
                                              must file a motion.
14. Local Rule Dismissal                      Case may be dismissed for failure to timely file lists, schedules and statements, or to attend meeting of
    Warning                                   creditors. (Local Bankruptcy Rules 1007−1, 1007−3, and 2003−1.) Trustee may at the meeting give notice of
                                              intention to abandon property burdensome or of inconsequential value or intent to sell nonexempt property that
                                              has an aggregate gross value less than $2,500. Objections thereto must be filed pursuant to Local Bankruptcy
                                              Rules 6004−2 and 6007−1.
15. Manner of Payment of Fees Exact Change Only accepted for cash payment of fees and services. Payment may also be made by
                                              non−debtor's check, money order, cashier's check or a 'not to exceed check' made payable to Clerk, U.S.
                                              Bankruptcy Court, or any authorized non−debtor's credit card.
Electronic bankruptcy notices are delivered faster than the U.S. Mail if you have a PC with Internet connection or a Fax machine. For more information,
go to bankruptcynotices.uscourts.gov or call, toll free: 877−837−3424. Case/docket information available on Internet @ www.vaeb.uscourts.gov

ATTENTION DEBTORS: Receive your court notices and orders by email through the DeBN. Same−day delivery. Convenient Access. Free. For more
information and to download the request form, go to www.vaeb.uscourts.gov and select the Debtor Electronic Bankruptcy Noticing link from the
ATTENTION DEBTORS DeBN banner.




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                                      United States Bankruptcy Court
                                      Eastern District of Virginia
In re:                                                                                  Case No. 19-34886-KRH
Tamesha Latrice Fleming-Kennedy                                                         Chapter 13
         Debtor
                                        CERTIFICATE OF NOTICE
District/off: 0422-7           User: bullockn               Page 1 of 2                   Date Rcvd: Sep 20, 2019
                               Form ID: 309I                Total Noticed: 31


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Sep 22, 2019.
db             +Tamesha Latrice Fleming-Kennedy,     122 E. 9th Street,    Richmond, VA 23224-4004
15029266       +CC Holdings/CardMember Services,     Attn: Card Services,    Po Box 9201,
                 Old Bethpage, NY 11804-9001
15029263       +Caine & Weiner,    Attn: Bankruptcy,    5805 Sepulveda Blvd,    Sherman Oaks, CA 91411-2546
15029265       +Cashflash Financial Services,,    4708 Jefferson Davis Highway,     Richmond, VA 23234-3153
15029269        City of Richmond,    PO Box 759289,    Baltimore, MD 21275-9289
15029271       +Dominion Power Virginia,    PO Box 26543,    Richmond, VA 23290-0001
15029274       +EZ Pass,   P.O. Box 1234,    Clifton Forge, VA 24422-0724
15029273        Exeter Finance Corporation,    Attn: Jason Grubb, CEO,     2101 W John Carpenter Fwy,
                 Irving, TX 75063-3228
15029275       +FedLoan Servicing,    Attn: Bankruptcy,    Po Box 69184,    Harrisburg, PA 17106-9184
15029277       +Lead Bank,   Attn: Bankruptcy,    200 N 3rd St,     Garden City, MO 64747-8163
15029281        Patient First,    PO Box 758941,    Baltimore, MD 21275-8941
15029283        Progressive Insurance,    Dept 0586,    Carol Stream, IL 60132-0586
15029285       +Sheltering Arms Physical Rehab,     8254 Atlee Rd.,    Mechanicsville, VA 23116-1844

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: rdukelaw@gmail.com Sep 21 2019 03:48:30        Robert B. Duke, Jr.,
                 America Law Group Inc.,    dba The Debt Law Group,    8501 Mayland Drive, Suite 106,
                 Henrico, VA 23294
tr             +E-mail/Text: station01@richchap13.com Sep 21 2019 03:52:54        Carl M. Bates,    P. O. Box 1819,
                 Richmond, VA 23218-1819
15029261       +EDI: AMSHER.COM Sep 21 2019 07:28:00       AmSher Collection Srv,    4524 Southlake Parkway,
                 Ste 15,   Hoover, AL 35244-3271
15029262       +E-mail/Text: jcissell@bankofmissouri.com Sep 21 2019 03:52:29        Bank of Missouri,
                 916 North Kings Highway,    Perryville, MO 63775-1204
15029264       +EDI: CAPITALONE.COM Sep 21 2019 07:28:00       Capital One,    Attn: Bankruptcy,    Po Box 30285,
                 Salt Lake City, UT 84130-0285
15029267       +E-mail/Text: heatherg@checkcity.com Sep 21 2019 03:52:29        Check City,    2729 W Broad St # B,
                 Richmond, VA 23220-1905
15029268       +E-mail/PDF: BANKRUPTCY.NOTICES@RICHMONDGOV.COM Sep 21 2019 03:57:47         City of Richmond,
                 900 E. Broad St., Room 103,    Richmond, VA 23219-1907
15029270       +EDI: RCSFNBMARIN.COM Sep 21 2019 07:28:00       Credit One Bank, NA,    Po Box 98873,
                 Las Vegas, NV 89193-8873
15029270       +E-mail/PDF: creditonebknotifications@resurgent.com Sep 21 2019 03:57:30         Credit One Bank, NA,
                 Po Box 98873,    Las Vegas, NV 89193-8873
15029272       +E-mail/PDF: ais.exeter.ebn@americaninfosource.com Sep 21 2019 03:57:27         Exeter Finance Corp,
                 Po Box 166008,    Irving, TX 75016-6008
15029276       +E-mail/Text: bncnotices@becket-lee.com Sep 21 2019 03:52:25        Kohls/Capital One,
                 Attn: Credit Administrator,    Po Box 3043,    Milwaukee, WI 53201-3043
15029278       +E-mail/Text: courts@scott-pc.com Sep 21 2019 03:53:50        LVNV Funding LLC,
                 c/o Scott and Associates, PC,    P.O. Box 113297,    Carrollton, TX 75011-3297
15029279       +EDI: RESURGENT.COM Sep 21 2019 07:28:00       LVNV Funding/Resurgent Capital,     Attn: Bankruptcy,
                 Po Box 10497,    Greenville, SC 29603-0497
15029280       +E-mail/Text: netcreditbnc@enova.com Sep 21 2019 03:53:42        NetCredit,    175 W. Jackson Blvd.,
                 Suite 1000,    Chicago, IL 60604-2863
15029282        EDI: PRA.COM Sep 21 2019 07:28:00      Portfolio Recovery,     Attn: Bankruptcy,
                 120 Corporate Blvd,    Norfold, VA 23502-0000
15029284        E-mail/Text: colleen.atkinson@rmscollect.com Sep 21 2019 03:53:50        Receivable Management Inc,
                 7206 Hull Rd,    Ste 211,   Richmond, VA 23235-0000
15029286        EDI: RMSC.COM Sep 21 2019 07:28:00       Synchrony Bank,    Attn: Bankruptcy Dept.,
                 PO Box 965060,    Orlando, FL 32896-5060
15029287        EDI: AISTMBL.COM Sep 21 2019 07:28:00       T-Mobile,    PO Box 53410,   Bellevue, WA 98015-3410
15029288       +EDI: VERIZONCOMB.COM Sep 21 2019 07:28:00       Verizon,    500 Technology Drive,    Suite 550,
                 Saint Charles, MO 63304-2225
                                                                                                TOTAL: 19

           ***** BYPASSED RECIPIENTS *****
NONE.                                                                                          TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.
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                                      Form ID: 309I                      Total Noticed: 31


             ***** BYPASSED RECIPIENTS (continued) *****


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Sep 22, 2019                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on September 20, 2019 at the address(es) listed below:
              Carl M. Bates   station01@richchap13.com,
               station10@richchap13.com;station03@richchap13.com;station07@richchap13.com;station06@richchap13.c
               om
              John P. Fitzgerald, III   USTPRegion04.RH.ECF@usdoj.gov
              Robert B. Duke, Jr.   on behalf of Debtor Tamesha Latrice Fleming-Kennedy rdukelaw@gmail.com,
               thedebtlawgroupmail@gmail.com;dlghearings@gmail.com,wandasmith013@gmail.com
                                                                                            TOTAL: 3
